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                          UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
___________________________________________
JASON M. ALBRIGHT and                      : CIVIL ACTION
STEPHANIE ALBRIGHT (Husband/Wife)          :
                                           : CASE NO.:
                          Plaintiffs       :
                                           :
       v.                                  :
                                           :
BAILEY L. MORRIS; JOHN MORRIS;             :
ALPHA O. SACKO;                            :
PV HOLDING CORPORATION;                    :
AVIS RENT A CAR SYSTEM, LLC;               :
AVIS RENT A CAR SYSTEM, INC.; and          :
AVIS BUDGET GROUP, INC.                    :
                          Defendants       : JURY TRIAL DEMANDED
___________________________________________

                                               COMPLAINT


        Plaintiffs, Jason M. Albright and Stephanie Albright, by and through their attorney, Kevin M.

Siegel, Esquire, hereby file this action against the above named defendants and in support thereof aver as

follows:

        I.       PARTIES

        1.       Plaintiff, Jason M. Albright, is an adult individual and a citizen and resident of the

Commonwealth of Virginia and resides therein at 715 West 37th Street, Norfolk, Virginia, 23508.

        2.       Plaintiff, Stephanie Albright, is an adult individual and a citizen and resident of the

Commonwealth of Virginia, and resides therein at 715 West 37th Street, Norfolk, Virginia, 23508.

Plaintiffs are married and were in a married relationship to each other on February 26, 2017, the date of

the accident upon which this lawsuit is based.

        3.       Defendant Bailey L. Morris is an adult individual and resident of the Commonwealth of

Pennsylvania and resides therein at 15 Queen Anne Road, Levittown, Pennsylvania, 19057.

        4.       Defendant John Morris is an adult individual and resident of the Commonwealth of

Pennsylvania and resides therein at 15 Queen Anne Road, Levittown, Pennsylvania, 19057.
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        5.        Defendant Alpha O. Sacko is an adult individual and resident of the Commonwealth of

Pennsylvania and resides therein at 3300 Street Road, Apartment H9, Bensalem, Pennsylvania, 19020.

        6.        Defendant PV Holding Corporation is a formed in the State of Delaware and maintains its

principal place of business at 6 Sylvan Way, Parsippany, New Jersey, 07054.

        7.        Defendant Avis Rent A Car System, LLC is a corporation formed in the State of

Delaware with a registered office address at 2711 Centerville Road, Wilmington, Delaware, 19808 and its

principal place of business located at 6 Sylvan Way, Parsippany, New Jersey, 07054.

        8.        Defendant Avis Rent A Car System, Inc. is a corporation formed in the State of Delaware

with a registered office address at 2711 Centerville Road, Wilmington, Delaware, 19808 and its principal

place of business located at 6 Sylvan Way, Parsippany, New Jersey, 07054.

        9.        Defendant Avis Budget Group, Inc. is a corporation formed in the State of Delaware with

a registered office address at 2711 Centerville Road, Wilmington, Delaware, 19808 and its principal place

of business located at 6 Sylvan Way, Parsippany, New Jersey, 07054.



        II.       JURISDICTION AND VENUE


        10.       This Court has original jurisdiction pursuant to 28 U. S. C. § 1332 because the amount in

controversy exceeds $ 75,000.00 and complete diversity of citizenship exists between the Plaintiffs and

the Defendants.

        11.       Venue is proper in this Court pursuant to 28 U. S. C. § 1391 because a substantial part of

the events or omissions giving rise to the claims occurred in this jurisdiction and all the defendants reside

and/or have offices in this judicial district. The motor vehicle accidents which are the subject of this suit

occurred in this judicial district.
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        III.       THE EVENTS GIVING RISE TO THE CAUSE OF ACTION


         12.       On February 26, 2017 at approximately 5:00 a.m., Plaintiff Jason Albright was a

passenger in a motor vehicle traveling at 70 mph in the left lane of the Pennsylvania Turnpike

approaching mile marker 323.7.

         13.       A motor vehicle owned by Defendant John Morris and being operated by Defendant

Bailey L. Morris struck the rear of the vehicle in which Plaintiff Jason Albright was a passenger.

         14.       Defendant Bailey L. Morris fell asleep while traveling in the left lane of the Pennsylvania

Turnpike when he rear ended the vehicle in which Plaintiff Jason Albright was a passenger.

         15.       At the time of the crash, Defendant Bailey L. Morris had a suspended motor vehicle

license and should not have been operating a motor vehicle. Moreover, he fled the accident scene.

         16.       At the time of the crash, the vehicle in which Plaintiff Jason Albright was a passenger

shut off. However, the driver was able to drift to the right shoulder safely.

         17.       While the disabled vehicle was parked on the right shoulder, Plaintiff Jason Albright

went to retrieve his cell phone which was still inside the vehicle.

         18.       At that moment, Defendant Alpha O. Sacko, while traveling at a high rate of speed,

drifted off the roadway and onto the right shoulder where he struck the parked vehicle Plaintiff Jason

Albright was in.

         19.       At the time of the accident, Defendant Alpha O. Sacko was driving a rental car he rented

from Avis and which was owned by Defendant PV Holding Corporation.



III.    THE INJURIES AND DAMAGES SUSTAINED BY JASON ALBRIGHT

        20.        As a direct and proximate result of the aforesaid motor vehicle accidents and Defendants’

collective negligence and wrongful conduct, Plaintiff Jason Albright has suffered serious and permanent

injuries and great damage, including, but not limited to, the following:

                   a. Destruction of all benefits obtained from 2015 lumbar spine surgery;
                   b. Fractures in left thumb;
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                 c.    Shoulder injuries;
                 d.    Lacerations to thumb and face;
                 e.    Bruising on face;
                 f.    Bruising on low back and left hip;
                 g.    Neck injuries;
                 h.    Neck pain;
                 i.    Hip pain;
                 j.    Back pain;
                 k.    Past physical pain and suffering;
                 l.    Future physical pain and suffering;
                 m.    Past mental anguish;
                 n.    Future mental anguish;
                 o.    Past severe emotional distress;
                 p.    Future severe emotional distress;
                 q.    Disfigurement;
                 r.    Embarrassment;
                 s.    Humiliation;
                 t.    Past loss of life’s pleasures;
                 u.    Future loss of life’s pleasures;
                 v.    Diminished quality of life;
                 w.    Past and future inability to engage in activities of daily living;
                 x.    Loss of household services;
                 y.    Past medical expenses;
                 z.    Future medical expenses;
                 aa.   Past work loss;
                 bb.   Future work loss and decreased earning capacity;
                 cc.   Future medical expenses; and
                 dd.   All damages as set forth in greater detail in Plaintiff Jason Albright’s medical
                       records.


        21.       The injuries/damages sustained by Plaintiff Jason Albright as set forth above resulted

from the negligence and carelessness of Defendants and were in no way due to any act or failure to act on

the part of himself.

        22.       As a direct and proximate result of the aforesaid motor vehicle accidents and

Defendants’ collective negligence and carelessness as described in this Complaint, Jason Albright

sustained serious personal injuries.
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        IV.      THEORIES OF LIABILITY


                                          COUNT I
                                        NEGLIGENCE
                              JASON ALBRIGHT V. BAILEY L. MORRIS


        23.      Plaintiff incorporates herein by reference the averments of the preceding paragraphs of

the Complaint as if fully set forth herein at length.

        24.      Defendant Bailey L. Morris owed a duty to Plaintiff to use reasonable care and caution in

operating and controlling his motor vehicle.


        25.      Defendant Bailey L. Morris was negligent and careless, both generally and in the

following particular respects:

                 a. Failing to properly monitor the road for hazardous conditions;
                 b. Failing to maintain the vehicle in a safe condition;
                 c. Failing to have the vehicle under proper control;
                 d. Failing to observe traffic control signals;
                 e. Failing to yield the right of way to other drivers;
                 f. Failing to anticipate and take appropriate evasive maneuvers to avoid the accident;
                 g. Failing to operate the vehicle in a safe manner;
                 h. Failing to maintain a proper look out;
                 i. Driving into another vehicle;
                 j. Falling asleep while operating his motor vehicle;
                 k. Driving on a suspended license;
                 l. Operating his motor vehicle without due regard to the rights and safety of Jason
                    Albright;
                 m. Failing to observe the speed limit; and,
                 n. Failing to observe the vehicle in front of him.

        26.      As a direct and proximate result of the negligence and carelessness of Defendant, and the

breach of duties owed, Jason Albright sustained the personal injuries and damages described above.

        27.      The acts, omissions and other tortious conduct of Defendant Bailey L. Morris increased

the risk of harm to Plaintiff Jason Albright and were substantial contributing factors to, and a factual

cause of, Plaintiff Jason Albright’s injuries and damages as set forth in this Complaint.
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        WHEREFORE, Plaintiff Jason Albright demands judgment in his favor and against Defendant

Bailey L. Morris in an amount greater than $75,000, together with all available compensatory damages,

lawful interest, fees and costs.



                                             COUNT II
                                           NEGLIGENCE
                                 JASON ALBRIGHT V. ALPHA O. SACKO


        28.      Plaintiff incorporates herein by reference the averments of the preceding paragraphs of

the Complaint as if fully set forth herein at length.

        29.      Defendant Alpha O. Sacko owed a duty to Plaintiff to use reasonable care and caution in

operating and controlling his motor vehicle.


        30.      Defendant Alpha O. Sacko was negligent and careless, both generally and in the

following particular respects:

                 a.   Failing to properly monitor the road for hazardous conditions;
                 b.   Failing to make timely application of his vehicle’s brakes;
                 c.   Failing to maintain the vehicle in a safe condition;
                 d.   Failing to have the vehicle under proper control;
                 e.   Failing to observe traffic control signals;
                 f.   Failing to yield the right of way to other drivers;
                 g.   Failing to anticipate and take appropriate evasive maneuvers to avoid the accident;
                 h.   Failing to operate the vehicle in a safe manner;
                 i.   Failing to maintain a proper look out;
                 j.   Driving into another vehicle;
                 k.   Not paying attention when operating his motor vehicle;
                 l.   Taking his eyes off the road when operating a motor vehicle;
                 m.   Operating his motor vehicle without due regard to the rights and safety of Jason
                      Albright;
                 n.   Failing to keep his motor vehicle in the lane of travel;
                 o.   Allowing his motor vehicle to drift into the shoulder;
                 p.   Being inattentive, and not paying attention, while operating his motor vehicle;
                 q.   Failing to observe the speed limit; and
                 r.   Failing to observe the vehicle in front of him.

        31.      As a direct and proximate result of the negligence and carelessness of Defendant, and the

breach of duties owed, Jason Albright sustained the personal injuries and damages described above.
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           32.    The acts, omissions and other tortious conduct of Defendant Alpha O. Sacko increased

the risk of harm to Plaintiff Jason Albright and were substantial contributing factors to, and a factual

cause of, Plaintiff Jason Albright’s injuries and damages as set forth in this Complaint.


           WHEREFORE, Plaintiff Jason Albright demands judgment in his favor and against Defendant

Alpha O. Sacko in an amount greater than $75,000, together with all available compensatory damages,

lawful interest, fees and costs.



                                             COUNT III
                                            NEGLIGENCE
                                   JASON ALBRIGHT V. JOHN MORRIS


           33.    Plaintiff incorporates herein by reference the averments of the preceding paragraphs of

the Complaint as if fully set forth herein at length.

           34.     At all times relevant hereto Defendant John Morris was responsible for and/or

controlled the silver 2015 Mazda 3, with Pennsylvania license plate KFS4161, being driven by

Defendant Baily L. Morris at the time of the accident.

           35.     At all times material hereto, Defendant John Morris owed Plaintiff, and other

drivers, a duty to exercise reasonable care in permissively allowing others the use of his motor

vehicle.

           36.     Defendant John Morris allowed and permitted Defendant Bailey L. Morris to

operate his motor vehicle knowing that Defendant Bailey L. Morris had his license suspended and did

not possess the legal ability to drive.

           37.     Defendant John Morris was negligent and careless, generally and in the following

specific respects: Permitting Defendant Bailey L. Morris to operate the motor vehicle which was

owned and under the control of Defendant John Morris, when Defendant John Morris knew or should

have known that Defendant Bailey L. Morris had a suspended license and not lawfully permitted to
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drive.


           38.     As a direct and proximate result of the negligence and carelessness of Defendant,

and the breach of duties owed, Plaintiff Jason Albright sustained the personal injuries and damages

described earlier in this Complaint.

           39.     The acts, omissions, and other tortious conduct of Defendant John Morris increased

the risk of harm to Plaintiff Jason Albright and were substantial contributing factors to, and a factual

cause of, Plaintiff’s injuries and damages, as set forth elsewhere in this Complaint.

           WHEREFORE, Plaintiff Jason Albright demands judgment in his favor and against Defendant

John Morris in an amount greater than $75,000, together with all available compensatory damages, lawful

interest, fees and costs.



                                           COUNT IV
                                    NEGLIGENT ENTRUSTMENT
                                 JASON ALBRIGHT V. JOHN MORRIS


           40.    Plaintiff incorporates herein by reference the averments of the preceding paragraphs of

the Complaint as if fully set forth herein at length.

           41.     At all times relevant hereto, Defendant John Morris was responsible for and/or

controlled the silver 2015 Mazda 3, with Pennsylvania license plate KFS4161, being driven by

Defendant Baily L. Morris at the time of the accident.

           42.     At all times material hereto, Defendant John Morris owed Plaintiff, and other

drivers, a duty to exercise reasonable care in permissively allowing others the use of his motor

vehicle.

           43.     Defendant John Morris allowed and permitted Defendant Bailey L. Morris to

operate his motor vehicle knowing that Defendant Bailey L. Morris had his license suspended and did

not possess the legal ability to drive.
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        44.          Defendant John Morris was negligent and careless, generally, and in the following

specific respects:

                     a.     Failing to properly instruct Defendant Bailey L. Morris regarding the safe and
                     proper operation of the subject motor vehicle;
                     b.     Permitting Defendant Bailey L. Morris to operate the motor vehicle which was
                     under the control of Defendant John Morris, when Defendant John Morris knew or
                     should have known that Defendant Bailey L. Morris intended or was likely to use the
                     motor vehicle and/or conduct himself in such a manner as to create an unreasonable
                     risk of harm to others;
                     c.     Negligently entrusting his motor vehicle to Defendant Bailey L. Morris when he
                     knew or should have known that said defendant would operate the vehicle at a speed
                     too great for the circumstances, and at such an excessive speed would be unable to
                     control the motor vehicle;
                     d.     Negligently entrusting his motor vehicle to Defendant Bailey L. Morris when he
                     knew or should have known that Defendant Bailey L. Morris’s license was suspended;
                     e.     Negligently entrusting his motor vehicle to Defendant Bailey L. Morris when he
                     knew or should have known that said defendant would fail to have the motor vehicle
                     under reasonable, safe, and proper control such as striking Plaintiff’s vehicle; and
                     f.     Violating Restatement (Second) of Torts §308.


        45.          As a direct and proximate result of the negligence and carelessness of this

Defendant, and the breach of duties owed, Plaintiff Jason Albright sustained the personal injuries and

damages described earlier in this Complaint.

        46.          The acts, omissions, and other tortious conduct of Defendant John Morris increased

the risk of harm to Plaintiff Jason Albright and were substantial contributing factors to, and a factual

cause of, Plaintiff’s injuries and damages, as set forth elsewhere in this Complaint.

        WHEREFORE, Plaintiff Jason Albright demands judgment in his favor and against Defendant

John Morris in an amount greater than $75,000, together with all available compensatory damages, lawful

interest, fees and costs.
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                                COUNT V
                        NEGLIGENT ENTRUSTMENT
 JASON ALBRIGHT V. PV HOLDING CORPORATION; AVIS RENT A CAR SYSTEM, LLC;
         AVIS RENT A CAR SYSTEM, INC.; and AVIS BUDGET GROUP; INC.


           47.   Plaintiff incorporates herein by reference the averments of the preceding paragraphs of

the Complaint as if fully set forth herein at length.

           48.    At all times relevant hereto, Defendants PV Holding Corporation; Avis Rent A Car

System, LLC; Avis Rent A Car System, Inc.; and Avis Budget Group, Inc. were responsible for

and/or controlled the silver 2016 Lincoln MKZ, with Pennsylvania license plate 27526872, being

driven by Defendant Alpha O. Sacko at the time of the accident.

           49.    At all times material hereto, Defendants PV Holding Corporation; Avis Rent A Car

System, LLC: Avis Rent A Car System, Inc.; and Avis Budget Group, Inc. owed Plaintiff and other

drivers a duty to exercise reasonable care in permissively allowing others the use of their motor

vehicle.

           50.    Defendants PV Holding Corporation; Avis Rent A Car System, LLC; Avis Rent A

Car System, Inc.; and Avis Budget Group, Inc. were negligent and careless, generally and in the

following specific respects:

                 a. Failing to properly instruct Defendant Alpha O. Sacko regarding the safe and proper
                    operation of the subject motor vehicle;
                 b. Permitting Defendant Alpha O. Sacko to operate the motor vehicle which was under
                    the control of Defendants when Defendants knew or should have known that
                    Defendant Alpha O. Sacko intended or was likely to use the motor vehicle and/or
                    conduct himself in such a manner as to create an unreasonable risk of harm to
                    others;
                 c. Negligently entrusting their motor vehicle to Defendant Alpha O. Sacko when they
                    knew or should have known that said defendant would operate the vehicle at a speed
                    too great for the circumstances, and at such an excessive speed would be unable to
                    control the motor vehicle;
                 d. Negligently entrusting their motor vehicle to Defendant Alpha O. Sacko when they
                    knew or should have known that said defendant would fail to have the motor vehicle
                    under reasonable, safe, and proper control such as striking Plaintiff’s vehicle; and
                 e. Violating Restatement (Second) of Torts §308.
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        51.       As a direct and proximate result of the negligence and carelessness of Defendants,

and the breach of duties owed, Plaintiff Jason Albright sustained the personal injuries and damages

described earlier in this Complaint.

        52.       The acts, omissions, and other tortious conduct of Defendants PV Holding

Corporation; Avis Rent A Car System, LLC; Avis Rent A Car System, Inc.; and Avis Budget Group,

Inc. increased the risk of harm to Plaintiff Jason Albright and were substantial contributing factors to,

and a factual cause of, Plaintiff’s injuries and damages, as set forth elsewhere in this Complaint.

        WHEREFORE, Plaintiff Jason Albright demands judgment in his favor and against Defendants

PV Holding Corporation; Avis Rent A Car System, LLC; Avis Rent A Car System, Inc.; and Avis Budget

Group, Inc. in an amount greater than $75,000, together with all available compensatory damages, lawful

interest, fees and costs.



                                  COUNT VI
                            LOSS OF CONSORTIUM
    STEPHANIE ALBRIGHT V. BAILEY L. MORRIS; JOHN MORRIS; ALPHA O. SACKO;
           PV HOLDING CORPORATION; AVIS RENT A CAR SYSTEM, LLC;
          AVIS RENT A CAR SYSTEM, INC.; and AVIS BUDGET GROUP; INC.


        53.      Plaintiff incorporates herein by reference the averments of the preceding paragraphs of

the Complaint as if fully set forth herein at length.

        54.      By reason of the aforesaid and as a direct and proximate result of Defendants’ actions,

Stephanie Albright was deprived of the companionship, services, comfort and consortium of her husband,

all to her great detriment and loss and will continue to suffer for an indefinite time in the future the loss of

services, society, companionship and consortium of her husband.


        WHEREFORE, Plaintiff Stephanie Albright demands judgment in her favor and against

Defendants Bailey L. Morris; John Morris; Alpha O. Sacko; PV Holding Corporation; Avis Rent A Car
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System, LLC; Avis Rent A Car System, Inc.; and Avis Budget Group, Inc. in an amount greater than

$75,000, together with all available compensatory damages, lawful interest, fees and costs.



                                                 Respectfully submitted,

                                                 THE LAW OFFICES OF KEVIN M. SIEGEL
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Date:   January 29, 2019                 By:     ___/s/ Kevin M. Siegel________
                                                 KEVIN M. SIEGEL, ESQUIRE
